           Case 1:19-cr-00018-ABJ Document 46 Filed 02/26/19 Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

    UNITED STATES OF AMERICA

                v.                                   Criminal No. 19-cr-18-ABJ

    ROGER J. STONE, JR.,

                                  Defendant.


                 GOVERNMENT’S NOTICE REGARDING DOCUMENTS


         The United States of America respectfully submits this notice in response to the Court’s

questions in a minute order dated February 22, 2019.

         1. At 6:10 AM on January 25, 2019, Agents of the Federal Bureau of Investigation

            emailed investigative team members of the Special Counsel’s Office that Roger Stone

            was in custody. A copy of that email from an FBI agent on the scene of the arrest is

            attached at Exhibit A. 1

         2. At 6:11:45 AM on that same day, the Special Counsel’s Office posted the indictment

            to its DOJ website. A log of edits to the website showing the timing of this post is

            attached as Exhibit B. 2

         3. At 6:16 AM on that same day, the spokesman from the Special Counsel’s Office

            emailed more than 500 journalists from 127 news organizations a notice of Mr. Stone’s

            arrest, with a link to the posted indictment on the office’s DOJ website. A copy of that


1
 Individual DOJ email address prefixes have been redacted in Exhibit A for privacy purposes;
an unredacted copy is available to the Court and the defendant upon request.
2
 Information associated with internal DOJ systems, including IP addresses, has been redacted in
Exhibit B for security purposes; an unredacted copy is available to the Court and the defendant
upon request.
         Case 1:19-cr-00018-ABJ Document 46 Filed 02/26/19 Page 2 of 2




          email is attached as Exhibit C. A list of the news organizations whose journalists

          received the notice is attached as Exhibit D.

       4. At 6:18 AM on that same day, a spokesman from the Special Counsel’s Office emailed

          investigative team members of the Special Counsel’s Office that the notice had been

          issued. A copy of that email is attached as Exhibit A.



                                    Respectfully submitted,

ROBERT S. MUELLER III                               JESSIE K. LIU
Special Counsel                                     U.S. Attorney for the District of Columbia

By: /s/                                        By: /s/
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Dated: February 26, 2019




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